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                                                    U.S. Department of Justice


                                                     (Inited State s Attorney
                                                     Western District of Pennsylvania


                                                    Joseph F. ll'eis. Jr. U.S. Courthouse
                                                    700 Grant Streel
                                                    Suite 1000
                                                    Pittsburgh, Pennsylvania I 5219             I I 2,611-3500



July 27,2021


Kenneth J. Haber, Esquire
Difenderfer Rothman & Haber PC
304 Ross Street, Suite 400
Pittsburgh, PA 15219

Re     United States of America v. Matthew Michanowicz
       Criminal No.20-135

Dear Mr. Haber

This letter sets forth the agreement by which your client, Matthew Michanowicz, will enter a plea
of guilty in the above-captioned case. The letter represents the full and complete agreement
between Matthew Michanowicz and the United States Attorney for the Western District of
Pennsylvania. The agreement does not apply to or bind any other federal, state, or local prosecuting
authority.

Upon entering a plea of guilty, Matthew Michanowicz will be sentenced under the Sentencing
Reform Act, 18 U.S.C. $ 3551, et seq. and 28 U.S.C. $ 991, et seq. The Sentencing Guidelines
promulgated by the United States Sentencing Commission will be considered by the Court in
imposing sentence. The facts relevant to sentencing shall be determined initially by the United
States Probation Office and finally by the United States District Court by a preponderance of the
evidence.

       A.      The defendant, Matthew Michanowicz, agrees to the following:

               1      He will enter a plea of guilty to Count One of the Indictment at Criminal
                      No. 20-135, charging him with violating 26 U.S.C. $ 5861(d), pursuant to
                      Rule I I of the Federal Rules of Criminal Procedure.
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              2    He will voluntarily forfeit to the United States all property subject to
                   forfeiture under 26 U.S.C. $ 5861, and 28 U.S.C. $$ Sections 5872 and
                   2461(c) including but not limited to the following:

                   (a)        Three (3) destructive devices described in the Indictment.

              J    He    acknowledges that the above-described property is presently the
                   subject of a criminal forfeiture action at the above-captioned criminal case
                   number, and that the property is properly forfeitable to the United States as
                   property utilized to commit and to facilitate commission of said
                   offense. He herewith voluntarily consents to the Court entering an order of
                   forfeiture of said property to the United States.

              4    If the Court imposes a fine or restitution as part of a sentence of
                   incarceration, Matthew Michanowicz agrees to participate in the United
                   States Bureau of Prisons' Inmate Financial Responsibility Program,
                   through which 50o/o of his prison salary will be applied to pay the fine or
                   restitution.

              5    At the time Matthew Michanowicz enters his plea of guilty, he will deposit
                   a special assessment of $100 in the form of cash, check, or money order
                   payable to "Clerk, U.S. District Court". In the event that sentence is not
                   ultimately imposed, the special assessment deposit will be returned.

              6    Matthew Michanowicz waives any former jeopardy or double jeopardy
                   claims he may have in or as a result of any related civil or administrative
                   actions.

              7    Matthew Michanowicz waives the right to take a direct appeal from his
                   conviction or sentence under 28 U.S.C. $ 1291 or l8 U.S.C . 5 3742, subject
                   to the following exceptions:

                   (a) If the United States appeals from the sentence, Matthew
                              Michanowiczmay take a direct appeal from the sentence.

                   (b) If (1) the sentence exceeds the applicable statutory       limits set forth
                              in the United States Code, or (2) the sentence unreasonably exceeds
                              the guideline range determined by the Court under the Sentencing
                              Guidelines, Matthew Michanowicz may take a direct appeal from
                              the sentence.

                   Defendant further waives the right to file a motion to vacate sentence under
                   28 U.S.C. S 2255, attacking his conviction or sentence and the right to file
                   any other collateral proceeding attacking his conviction or sentence.
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                      Nothing in the foregoing waivers of rights shall preclude the defendant
                      from raising a claim of ineffective assistance of counsel in an appropriate
                      forum, if otherwise permitted by law. The defendant understands that the
                      government retains its right to oppose any such claim on procedural or
                      substantive grounds.

         B. In consideration of and entirely contingent upon the provisions of Parts A and C
of this agreement, the United States Attorney for the Westem District of Pennsylvania agrees to
the following:

                1     The United States Attorney retains the right of allocution at the time of
                      sentencing to advise the sentencing Court of the full nature and extent of
                     the involvement of Matthew Michanowtcz in the offense charged in the
                     Indictment and of any other matters relevant to the imposition of a fair and
                     just sentence.

                2.    The United States agrees to recommend a two-level downward adjustment
                      for acceptance of responsibility and, pursuant to U.S.S.G. $ 3E1.1(b), to
                      move for an additional one-level adjustment. However, if at any time prior
                      to imposition of the sentence, the defendant fails to fully satis$z the criteria
                      set forth in U.S.S.G. $ 3E1.1, or acts in a manner inconsistent with
                      acceptance of responsibility, the United States will not make or, if already
                      made, will withdraw this recommendation and motion. The United States
                      Attorney will take any position he deems appropriate in the course of any
                      appeals from the sentence or in response to any post-sentence motions.

           C.   Matthew Michanowiczandthe United States Attorney furtherunderstand and agree
to the following:

                1.    The penalty that may be imposed upon Matthew Michanowicz is:

                      a.      A term of imprisonment of not more than ten (10) years (26 U.S.C.
                              $ s871);

                      b       A fine of not more than $250,000 (18 U.S.C. g 3571(bX3)); and

                      c       A term of supervised    release   of not more than three (3) years (18
                              u.s.c. $ 3s83).
                      d.      Any or all of the above.

                2    The parties stipulate that the governing section of the united States
                     Sentencing Guidelines is $ 2K2.1. The base offense level is l8 pursuant to
                     Sentencing Guideline $ 2K.2.1 (aX5) (offense involved firearm described
                     in 26 U.S.c. $ 58a5(a)). The parties further agree that the base offense level
                     should be increasedby 2levels pursuant to Sentencing Guideline $ 2K.2.1
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                      (b)(1XA) because the offense involved 3 firearms. The parties fuither agree
                      that the base offense level should be increased by an additional 2 levels
                      pursuant to Sentencing Guideline $ 2K.2.1 (bX3XB) because the offense
                      involved a destructive device. After subtracting three (3) levels for timely
                      acceptance of responsibility, the parties agree that the final offense level is
                       19. This stipulation includes all relevant conduct, under $ lBl.3 of the
                      Guidelines, and represents the parties'best understanding on the basis of the
                      information available as of the date of this agreement.

               3      The stipulations under paragraph 2 are not binding on the Court or the
                      United States Probation Office, and do not preclude the parties from
                      bringing to the attention of the United States Probation Office or the Court
                      any information not within their knowledge at the time this agreement is
                      executed or from seeking a departure or variance from the advisory
                      sentencing guideline range.

               4      The United States agrees to recommend a sentence at the low end of the
                      guideline range as calculated and adopted by the Court.

               5      This agreement does not preclude the government from pursuing civil or
                      administrate remedies against Matthew Michanowicz or his property.

               6      Pursuant to the Standing Order of the United States District Court dated
                      May 31,2017, all plea letters shall include a sealed Supplement. The
                      sealed Supplement to this plea letter is part of the agreement between the
                      parties hereto.

This letter sets forth the full and complete terms and conditions of the agreement between Matthew
Michanowrcz and the United States Attorney for the Western District of Pennsylvania, and there
are no other agreements, promises, terms or conditions, express or implied.

Very truly yours,

                    7%
           R. KAUFMAN
Acting United States Attorney
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